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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN
_________________________________________________________________________________________

UNITED STATES OF AMERICA,

                                       Plaintiff,                              ORDER
       v.
                                                                           14-cr-34-lsa
ERIC ZASTROW and JENNIFER SCHOENFELDT,

                                   Defendants.
__________________________________________________________________________________________

       On March 26, 2014 the court held a telephonic status and scheduling conference with the

attorneys for all parties. The attorneys for both defendants reported that the defendants both

intended to enter guilty pleas; in fact, within minutes after our conference, each defense attorneys

scheduled a change of plea date for his client before Judge Adelman.

       In light of this, the only other date in the schedule is the government’s April 2, 2014 deadline

to disclose its Rule 16 materials. Later on March 26, 2014, the court set a release hearing for

Jennifer Schoenfeldt for March 27, 2014 at 10:30 a.m. Although we also set a telephonic status

conference for April 23, 2014, that hearing is canceled as unnecessary.



       Entered this 26th day of March, 2014.

                                               BY THE COURT:

                                               /s/

                                               STEPHEN L. CROCKER
                                               Magistrate Judge
